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            IN THE UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

THE UNITED STATES OF AMERICA,                     Civil No. 4:18-cv-00075-BMM

          Plaintiff,

             v.

STEVE J. BARTNES;                                 ORDER
JEANNIE V. BARTNES;
MONTANA DEPARTMENT OF
REVENUE; and
SHERIDAN COUNTY, MONTANA,

          Defendants.

         On April 25, 2019, the United States filed a Motion (ECF No. 10) seeking

dismissal of Count III of its Complaint without prejudice and the closure of this

case. Having considered the Motion and for good cause showing, IT IS HEREBY

ORDERED that the United States’ Motion is GRANTED. Count III of the United

States’ Complaint is dismissed, without prejudice, and the Clerk of Court shall

close this case.
      IT IS SO ORDERED.



      Dated this 25th day of April, 2019.
